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 7                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WASHINGTON
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     STATE OF WASHINGTON, et al.,
10
                                                Case No. 2:25-cv-00848-TL
                         Plaintiffs,
11

12          v.                                  NOTICE OF FILING
                                                ADMINISTRATIVE RECORD
13   DEPARTMENT OF TRANSPORTATION,
     et al.,
14
                         Defendants.
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     NOTICE OF FILING                                      U.S. Department of Justice
     ADMINISTRATIVE RECORD                              Civil Division, Federal Programs
     Case No. 25-cv-00848-TL                                  1100 L Street, N.W.
                                                          Washington, D.C. 20005
                                                               (202) 598-7409
             Case 2:25-cv-00848-TL         Document 115       Filed 07/07/25        Page 2 of 2




 1
            Pursuant to Local Rule 79(h), Defendants file a certified index to the administrative
 2
     record and the administrative record in this case.
 3

 4   Dated: July 7, 2025                           Respectfully Submitted,
 5                                                 BRETT A. SHUMATE
 6                                                 Assistant Attorney General
                                                   Civil Division
 7
                                                   JOSEPH E. BORSON
 8                                                 Assistant Branch Director
                                                   Federal Programs Branch
 9

10                                                 /s/ Heidy L. Gonzalez
                                                   HEIDY L. GONZALEZ
11                                                 (FL Bar No. 1025003)
                                                   Trial Attorney
12                                                 U.S. Department of Justice
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16                                                 Attorneys for Defendants
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     ADMINISTRATIVE RECORD                                       Civil Division, Federal Programs
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